       Case 2:23-cv-02071-PKH Document 3                 Filed 05/26/23 Page 1 of 11 PageID #: 5




                    UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF ARKANSAS
                        FORT SMITH DIVISION


     REBECKA VIRDEN, NINA PRATER,
     AND SAMANTHA ROWLETT, on their
     own behalf and on behalf of their minor children,                             PLAINTIFFS

                     v.                            Case No. 2:23-cv-02071-PKH

     CRAWFORD COUNTY, ARKANSAS,
     and the following individuals in their o cial
     capacity only:
     COUNTY JUDGE Chris Keith;
     QUORUM COURT MEMBERS Robert Kevin Arnold,
     Lonnie Myers, Morgan R. Morgan,
     Michael Morrison, Brad Martin, Mark Sha er,
     Lonnie Jennings, Tia Woodru , Jason Cox,
     Je Beau, Craig Wahlmeier, Mitch Carolan,
     Roger Atwell and;
     LIBRARY BOARD MEMBERS Keith Pigg,
     Colleen Hoelscher, Tammara Hamby,
     Amanda Stevens, Kaelin Schape, Craig Wahlmeier,
     Mitch Carolan, Roger Atwell and
     INTERIM LIBRARY DIRECTOR Eva White,             DEFENDANTS


                              COMPLAINT FOR A CIVIL CASE

           COMES NOW, Plainti s, by and through their attorneys, Terrence Cain

     and Brian Meadors, and state:

           This matter arises from Crawford County’s unlawful censorship of

     materials in the county libraries.


                      Virden, et al. v. Crawford County, et al. — Complaint, page 1 of 11
ff
                ff
                                ff
                                             ffi
                                                    ff
           Case 2:23-cv-02071-PKH Document 3          Filed 05/26/23 Page 2 of 11 PageID #: 6




                                                 Parties

               1. Plainti s Rebecka Virden, Nina Prater, and Samantha Rowlett are

          residents of Crawford County, Arkansas, and members and users of the

          Crawford County Library System. Their minor children are also users of the

          Crawford County libraries; some of the children have their own membership,

          some use their parents’ membership.

               1. Defendant Crawford County is a political subdivision of the State of

          Arkansas and is within the Fort Smith District of the U.S. District Court for

          the Western District of Arkansas.

               2. Crawford County’s chief executive is County Judge Chris Keith. He is

          being sued in his o cial capacity only.

               3. Crawford County’s Quorum Court is comprised of these thirteen

          justices of the peace, sued in their o cial capacity only: Robert Kevin Arnold,

          Lonnie Myers, Morgan R. Morgan, Michael Morrison, Brad Martin, Mark

          Sha er, Lonnie Jennings, Tia Woodru , Jason Cox, Je Beau, Craig

          Wahlmeier, Mitch Carolan, and Roger Atwell.

               4. Crawford County has a county library pursuant to Title 13, Chapter 2,

          Subchapter 4 of the Arkansas Code.

               5. The Crawford County Library System interim director is Eva White.


                     Virden, et al. v. Crawford County, et al. — Complaint, page 2 of 11
ff
     ff
               ffi
                                  ffi
                                        ff
                                                       ff
 Case 2:23-cv-02071-PKH Document 3           Filed 05/26/23 Page 3 of 11 PageID #: 7




She is being sued in her o cial capacity only.

     6. The Crawford County Library has a library administrative board.

Under Ark. Code Ann. § 14-14-705(b)(2), “…[a]s to actions of tort, the [library]

board shall be considered as an agency of the county government and occupy

the same status as a county.”

     7. The Crawford County Library Board members are: Keith Pigg,

Colleen Hoelscher, Tammara (Tammi) Hamby, Amanda Stevens, and Kaelin

Schaper. They are being sued in their o cial capacity only.

     8. Collectively, the Defendants will be referred to as Crawford County or

the County.

                         Subject Matter Jurisdiction

     9. This Court has subject matter jurisdiction under 28 USC §§ 1331, 1343,

as this is a suit bringing a claim under 42 USC § 1983.

                      Venue and Personal Jurisdiction

     10. Venue is proper under 28 USC §§ 1391(b)(1) and (b)(2), as at least one

of the Defendants reside (or are located) in the District and the actions giving

rise to this suit occurred in the District.

     11. Personal jurisdiction is proper because all Defendants are residents of

(or located in) the Western District of Arkansas.


            Virden, et al. v. Crawford County, et al. — Complaint, page 3 of 11
              ffi
                             ffi
 Case 2:23-cv-02071-PKH Document 3             Filed 05/26/23 Page 4 of 11 PageID #: 8




                                           Facts

     12. Under Arkansas law, the Crawford County county judge appoints, and

the quorum court con rms, the Crawford County Library Board. Ark. Code

Ann. § 14-14-705 (b)(2)(D).

     13. A condition precedent to appointment as a county librarian is the

recommendation of the county library board.

     14. A public library like the Crawford County library system is a “public

forum” as that term of art is used in First Amendment jurisprudence.

     15. Under Ark. Code Ann. § 13-2-402, the county librarian “shall conduct

the library according to the most acceptable library methods.”

     16. In late 2022, early 2023, the Crawford County Quorum Court began a

series of actions intended to, and resulting in, the stigmatization of certain

books by placing a prominent color label on them and moving the books to a

separate “social section.” The Van Buren Public Library’s “social section” is

shown here:




              Virden, et al. v. Crawford County, et al. — Complaint, page 4 of 11
         fi
     Case 2:23-cv-02071-PKH Document 3               Filed 05/26/23 Page 5 of 11 PageID #: 9




          17. The “social section” contains books for all ages but have this common

    theme: the books create, for Crawford County, the “discomfort and

    unpleasantness that… accompan[ies] an unpopular viewpoint.”1

          18. Illustrative of the Defendant’s motivations for removing the books is

    a letter from Tammi Hamby, now a member of the Crawford County Library



1   Tinker v. Des Moines Indep. Cmty. Sch. Dist., 393 U.S. 503, 509 (1969).

                  Virden, et al. v. Crawford County, et al. — Complaint, page 5 of 11
Case 2:23-cv-02071-PKH Document 3          Filed 05/26/23 Page 6 of 11 PageID #: 10




Board.

    19. Tammi Hamby’s letter reads, in all meaningful respects, as follows:

     To: Crawford County Pastors

     Re: public library LGBTQ children’s books

     As I am sure you have heard there was a display of children’s books

    aimed at children 10 and under purchased and displayed at our local

    libraries focusing on alternative lifestyles. The only reason to do this

    is grooming a generation of children to feel this is normal and an

    accepted way of life. These children are too young to make those

    decisions and it should be left solely up to the parents what they want

    their child to be taught concerning these issues.

     A group of concerned citizens attended the last quorum court

    meeting on 12/19/22 and it appears to have been a success. There

    was a tentative agreement to remove the offensive books from the

    children’s section in the library and to work on a permanent solution

    to the problem.

     There have been several resignations of the county library board

    since the meeting so please pray that the right people are appointed

    to those positions by our incoming county Judge Chris Keith. Please

    keep him in your prayers as his tenure starts with this significant


          Virden, et al. v. Crawford County, et al. — Complaint, page 6 of 11
Case 2:23-cv-02071-PKH Document 3           Filed 05/26/23 Page 7 of 11 PageID #: 11




     conflict amongst his constituents.

      The battle is not over and we need your help. There is a scheduled

     library board meeting on Tuesday the 10th of January at 4:30 pm in

     the public library building here in Van Buren. We need as many

     people who can to show up with us to make sure the offensive and

     harmful children’s books are removed.

      There have been several constructive suggestions regarding these

     books and others like them in the library and the library director

     Deidre Grzymala seems amenable to negotiating.

      A large supportive contingent in the meeting would speak volumes

     to the leadership regarding the importance of protecting our children.

     We are asking you to ask your congregation to attend the next library

     meeting January 10, 2023 at 4:30 p.m.

      We hope to see you there,

      Dr. Jeff and Tammi Hamby



     20. The “tentative agreement” was in actuality the Quorum Court

engaging in viewpoint discrimination by requiring its library board and

librarian to label and sequester books based on their content.

     21. The Quorum Court’s direction to label and sequester the books was


           Virden, et al. v. Crawford County, et al. — Complaint, page 7 of 11
     Case 2:23-cv-02071-PKH Document 3            Filed 05/26/23 Page 8 of 11 PageID #: 12




     admitted by Tammi Hamby and the then-librarian Deidre Gryzmala in the Jan

     10, 2023, Crawford County Library Board meeting:


            Tammi Hamby 1:13:48
           Ok, last item on the agenda. Deidre, you’re going to speak of the
           compromise with the Quorum Court?

             Deidre Gryzmala 1:13:51
           Yes. Okay, so the quorum court meeting was on December 19. Per
           the quorum court, we have reached a compromise about the LGBTQ
           books in the library system. Each branch has moved all of the
           LGBTQ kids books into a new section, so they have their own
           section. It is within the adult section, which we are calling “S” for
           social. They are a separated collection in the catalog. They were
           moved to the adult section and there and if there are any books that
           we missed, just alert the staff, and we can get it switched over. We
           also put color label covers on the books for staff so that books do not
           get shelved in the wrong area. When the staff person sees the label,
           they know that it'll go in this separate section. Every branch has
           already moved all their books over and we also place signs in this
           area and other areas of the library that say children 10 and under
           must be accompanied by an adult or guardian in the library at all
           times, which this statement is also in our policy. And I also like to
           point out that in order for a child, anyone under 18, to get a library
           card, their parent or guardian has to give them consent and sign for
           their card.


           22. Other pro ered reasons for singling out these books and making

     them more di cult—-and more stigmatizing—-to read is that the books are

     !pornography,” or !exposing children to explicit sexual ideas or imagery.”

           23. To be clear, none of these books could be fathomably be accused of


                 Virden, et al. v. Crawford County, et al. — Complaint, page 8 of 11
ff
     ffi
          Case 2:23-cv-02071-PKH Document 3            Filed 05/26/23 Page 9 of 11 PageID #: 13




          !grooming,” “pornography,” or !exposing children to explicit sexual ideas or

          imagery.”

               24.For example, the “social section” contains Uncle Bobby’s Wedding,

          Cindere iot, A Scrumptious Fairytale, and The Big Book of Pride Flags.

               25. These books are wholly appropriate for placement in the children’s

          section of a public library.

                  a. Uncle Bobby's Wedding

                      Goodreads description is “Bobby and Jamie are getting married,

                  but Bobby’s niece Chloe is worried that she won't be his favorite

                  person anymore. Will Uncle Bobby still think she is special? Sarah

                  Brannen’s warm story is set in an alternative family as Uncle Bobby

                  marries his boyfriend. Uncle Bobby’s Wedding embraces Bobby’s

                  relationship with Jamie, but keeps its focus where it truly belongs: on

                  an uncle and niece’s love for each other.”

                  b. Cindere iot, A Scrumptious Fairytale

                      The book retells the Cinderella story, but has gay characters.

                  c.The Big Book of Pride Flags

                      Goodreads describes this book as having “fun facts, simple

                  explanations and a short history of each ag accompanying beautiful


                      Virden, et al. v. Crawford County, et al. — Complaint, page 9 of 11
ll
     ll
                                         fl
          Case 2:23-cv-02071-PKH Document 3             Filed 05/26/23 Page 10 of 11 PageID #: 14




                     illustrations, children will uncover the history of Pride and be

                     introduced to di erent genders and sexual orientations. There's also a

                     blank Pride ag design at the back of the book so that children can

                     create their very own Pride ag!”

                        The County’s censorship of Pride Flags showcases that the

                     censorship has nothing to do with !grooming,” “pornography,” or

                     !exposing children to explicit sexual ideas or imagery.” This is a book

                     about ags and the LGBTQ+ community. Crawford County censors

                     the group because of its policy to target, stigmatize, silence, and hate

                     LGBTQ+ people and their ideas.

                  26. Crawford County’s censorship of the “Social Section” books arises

          from impermissible religious considerations, i.e., its extreme and malevolent

          view of the Bible, resulting in the County punishing the already marginalized

          LGBTQ+ community.

                  27. The Defendant’s actions have resulted in the library not being

          administered in accordance with the most acceptable library methods, in

          contravention of Ark. Code Ann. §.13-2-402(b).

                                             Causes of Action

                  28. Defendants actions violate 42 USC § 1983 and the First Amendment,

                       Virden, et al. v. Crawford County, et al. — Complaint, page 10 of 11
fl
     fl
             ff
                           fl
Case 2:23-cv-02071-PKH Document 3                     Filed 05/26/23 Page 11 of 11 PageID #: 15




as applied to the states by the 14th Amendment. Speci cally:

              a. restricts the Plainti s’ right to receive information.

              b. is a violation of the Establishment Clause of the First Amendment.

      WHEREFORE, Plainti s pray that the Court order the Crawford

County Library System to restore and maintain its books and future

acquisitions to the same administrative controls and processes as they existed

in June 2022, for costs, attorney’s fees, and such other relief as allowed by law.




 /s/ Terrence Cain                                      /s/ Brian Meadors

 Terrence Cain, Ark. Bar # 99128                        Brian Meadors, Ark. Bar # 2001186
 Attorney for Plainti s                                 Attorney for Plainti s
 208 Brown Street                                       1930 W. Oak Shadows Cir
 Little Rock, AR 72205-5841                             Memphis, TN 38119
 501-952-8421                                           980-867-1371
 terrencecain@windstream.net                            brianmeadors@gmail.com




                     Virden, et al. v. Crawford County, et al. — Complaint, page 11 of 11
        ff
        ff
         ff
                ff
                                                          fi
